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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    8:14CR155

       vs.
                                                 PRELIMINARY ORDER OF FORFEITURE
DOROTEO MANUEL PONCE,
JUAN GERARDO DELGADO,
GILBERT NAVARRO,


                      Defendants.




       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 298). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The Defendants, Doroteo Manuel Ponce, Juan Gerardo Delgado, and Gilbert Navarro,

have entered into Plea Agreements (Filing Nos. 165, 169, and 280), whereby they have agreed to

plead guilty to Counts I, III, VII, and VIII and the Forfeiture Allegation of the Third Superseding

Indictment. Count I and/or III charged the Defendants with possession with intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1). The Forfeiture Allegation sought the

forfeiture, pursuant to 21 U.S.C. § 853, of the following properties on the basis they were used or

were intended to be used to facilitate said controlled substance violation and/or were derived from

proceeds obtained directly or indirectly as a result of the commission of said controlled substance

violation:


       (a) $3,893.93 seized on May 21, 2014 from Wells Fargo Bank account number ending in
       7005 in the name of Francisco J. Hurtado, DBA Martinez Auto Sales.
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       (b) $740.46 seized on May 21, 2014 from Wells Fargo Bank account number ending in
       9400 in the name of Alberto Martinez. DBA Martinez Auto Sales.

       (c) $76,806.67 seized on May 21,2014 from Wells Fargo Bank account number ending
       in 7110 in the name of Riverside Auto Sales Inc.

       (d) $122.50 seized on June 18, 2014 from Wells Fargo Bank account number ending in
       5740 in the name of Jorge L Perez-Gutierrez.


       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the above

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C. § 853.

       3. The United States= Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States= Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon the Forfeiture Allegation of the Third Superseding Indictment and the

Defendants’, Doroteo Manuel Ponce, Juan Gerardo Delgado, and Gilbert Navarro, pleas of guilty,

the United States is hereby authorized to seize the following properties:


       (a) $3,893.93 seized on May 21, 2014 from Wells Fargo Bank account number ending in
       7005 in the name of Francisco J. Hurtado, DBA Martinez Auto Sales.

       (b) $740.46 seized on May 21, 2014 from Wells Fargo Bank account number ending in
       9400 in the name of Alberto Martinez. DBA Martinez Auto Sales.

       (c) $76,806.67 seized on May 21,2014 from Wells Fargo Bank account number ending
       in 7110 in the name of Riverside Auto Sales Inc.

       (d) $122.50 seized on June 18, 2014 from Wells Fargo Bank account number ending in
       5740 in the name of Jorge L Perez-Gutierrez.


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        C. The Defendants’, Doroteo Manuel Ponce, Juan Gerardo Delgado, and Gilbert Navarro,

interest in the said properties are hereby forfeited to the United States for disposition in accordance

with the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

        D. The aforementioned properties are to be held by the United States in its secure custody

and control.

        E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

properties in such manner as the Attorney General may direct, and notice that any person, other

than the Defendant, having or claiming a legal interest in any of the subject properties must file a

Petition with the court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the properties, shall be signed

by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner=s right, title or interest in the subject properties and any additional facts supporting the

Petitioner=s claim and the relief sought.

        G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.




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       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       ORDERED this 3rd day of November, 2015


                                                     BY THE COURT:



                                                       s/Joseph F. Bataillon
                                                     JOSEPH F. BATAILLON
                                                     Senior United States District Judge




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